          Case 1:17-cv-02989-AT Document 1374-1 Filed 04/27/22 Page 1 of 1


                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA

                                                    )
______________________________,
Donna Curling, et al                                )
                                Plaintiff(s)        )
                                                    )       Case No. 1:17cv2989
                    V.                              )
                                                    )
______________________________,
Brad Raffensperger et al                            )
                         Defendant(s)               )


                            NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
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                     04/27/2022                __________________________________
                                               Melissa Brock
                            Date                             Court Reporter


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         Proceeding Type:          ______________________________________________
                                   Telephone Conference
                                   ______________________________________________
         Proceeding Date:          ______________________________________________
                                   04/07/2022
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         Volume Number:            ______________________________________________
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Carey Miller, Bryan Tyson

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                     ______________
                     04/27/2022                __________________________________
                                               Melissa Brock

                            Date                             Court Reporter
